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                        EXHIBIT B

                          Redline
  (Revised Proposed Order Against Original Proposed Order)
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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


In re:                                                                        Chapter 11

Prime Core Technologies Inc., et al.,                                         Case No. 23-11161 (JKS)

                                                Debtors. 1                    (Jointly Administered)

                                                                              Re: Docket No. ___325, 326, 374, 376,
                                                                                     382 & 384


                 ORDER DIRECTING WITNESS TO (I) SIT FOR A RULE 2004
             EXAMINATION, AND (II) PRODUCE DOCUMENTS, AND (III) PROVIDE
             SWORN INTERROGATORY RESPONSES IN RESPONSE TO RULE 2004
                                      REQUESTS

             Upon the Debtors’ Motion for Entry of an Order Directing Witness to (I) Sit for a Rule

    2004 Examination, (II) Produce Documents, and (III) Provide Sworn Interrogatory Responses

    (the “Motion”),; 2 for entry of an order pursuant to Bankruptcy Rule 2004 and Local Rule 2004-1

    directing Party 1 to: (i) sit for a Rule 2004 examination, (ii) produce documents, and (iii) provide

    sworn interrogatory responses in response to the Rule 2004 Requests,and having considered the

    First Day Declaration and the Evans Declaration; and having considered the objections to the

    Motion filed by Party 1; and in consideration of the arguments put forth at the hearing on the

    Motion (the “Hearing”); and this Court having jurisdiction to decide the Motion and the relief

    requested therein pursuant to 28 U.S.C. §§ 157(a)-(b) and 1334(b) and the Amended Standing

    Order of Reference from the United States District Court for the District of Delaware, dated

    February 29, 2012; and upon consideration of the Motion; and the requested relief being a core

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    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number
     are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA LLC (8436); and Prime Digital, LLC
     (4528). The Debtors’ service address is 10845 Griffith Peak Drive, #03-153, Las Vegas, NV 89135.
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.

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 proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409; and finding that adequate notice of the Motion having been given;

 and it appearing that no other or further notice need be given; and the Court finding that a

 Bankruptcy Rule 2004 examination of Party 1 is appropriate for the reasons set forth in the Motion

and the arguments presented at the Hearing; and that the time for compliance with the Revised

 Rule 2004 Requests is reasonable; and after due deliberation and sufficient cause appearing

 therefore,; it is hereby ORDERED THAT:

        1.      The Motion is GRANTED to the extent set forth herein.

        2.      Party 1 shall: (i) respond to the Revised Rule 2004 Requests, which are attached

hereto as Exhibit 1, and produce documents and sworn interrogatory responsesin connection

therewith, on or before ten (10) days after the date of this OrderDecember 1, 2023, and (ii) make

Party 1 available to sit for a Bankruptcy Rule 2004 examination on or before seventeen (17) days

after the date of this Order, or at such other time or location or in such other form as Debtors and

Party 1 may hereafter agree.

        3.      Debtors are authorized and empowered to take any and all actions necessary to

implement the terms of this OrderJanuary 5, 2024, which examination shall be conducted via

Zoom.

        3.      4. Debtors’ rights are reserved to request of Party 1 additional discovery and/or an

additional examination, including, without limitation, reasonable requests based on any

information that may be revealed as a result of the discovery authorized pursuant to this Order,

without prejudice to the rights of Party 1 to challenge the reasonableness of such requests.

        4.      5. This Order is without prejudice to the right of Debtors to seek further discovery

of any other entity.

        5.      6. The terms and conditions of this Order shall be effective immediately and
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enforceable upon its entry.

        6.      7. This Court retains jurisdiction with respect to all matters arising from or related

 to the implementation of this Order.




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